
The CouRT
(CRanch, C. J., doubting,)
were of opinion that they had jurisdiction to prevent the recording, and to quash the proceedings if irregular or illegal.
Mr. F. S. Key then objected to the inquisition that it was not under the seals of the jurors.
Mr. E. J. Lee, contra, was stopped by the Court, upon that point. But it appearing in evidence that some of the jurors were interested, and others did not stand indifferent,'-—
The Court (nem. con.) refused to suffer the inquisition and proceedings to be recorded, and ordered them to be quashed.1

 This judgment was reversed by the Supreme Court of the United States, 6 Cranch, 233, upon the ground that this court had no jurisdiction of the case.

